        Case: 23-1633   Document: 84    Page: 1   Date Filed: 09/20/2023



                          Nos. 23-1633 & 23-1634
                                    In the
       United States Court of Appeals for the Third Circuit
                ─────────────♦─────────────
                      GABRIEL GRAY, et al.,
                          Appellants in No. 23-1633,
                                       v.
                   ATTORNEY GENERAL DELAWARE,
                          D. Del. No. 1:22-cv-01500,
                ─────────────♦─────────────
                   CHRISTOPHER GRAHAM, et al.,
                          Appellants in No. 23-1634,
                                       v.
                   ATTORNEY GENERAL DELAWARE,
                          D. Del. No. 1:23-cv-00033
                 ─────────────♦─────────────
                  On Appeal from the U.S Dist. Ct. for the Dist.
                   of Del. No. 1:22-cv-00951 & 1:23-cv-00033
                       The Honorable Richard G. Andrews
                 ─────────────♦─────────────
           GRAY AND GRAHAM PLAINTIFFS-APPELLANTS’ REPLY BRIEF
                 ─────────────♦─────────────
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            Case: 23-1633           Document: 84              Page: 2      Date Filed: 09/20/2023




                                        TABLE OF CONTENTS

                                                                                                               Page

TABLE OF AUTHORITIES .................................................................................... ii

INTRODUCTION .....................................................................................................1
ARGUMENT .............................................................................................................1

  I.     The Plain Text of the Second Amendment Protects Plaintiffs’ Right to
         Acquire and Possess the Banned Firearms and Magazines............................. 1

 II.     Delaware’s Bans Are Not Historically Justified. ............................................ 3

             A. Arms In Common Use for Lawful Purposes Cannot Be Banned. ........ 4
             B. The District Court Erred By Accepting the State’s Misleading and
                Erroneous Historical Argument. ........................................................12
             C. This Case Presents Neither Unprecedented Societal Concerns Nor
                Dramatic Technological Changes. ......................................................18
             D. The State Has Failed to Justify Its Bans..............................................21

III.     The Remaining Injunction Factors Favors Plaintiffs ....................................25

CONCLUSION ........................................................................................................26




                                                          i
           Case: 23-1633           Document: 84          Page: 3        Date Filed: 09/20/2023




                                   TABLE OF AUTHORITIES
Cases                                                                                                     Page
Ass’n of N.J. Rifle & Pistol Clubs, Inc. v. Att’y Gen. N.J.,
      910 F.3d 106 (3d Cir. 2018) ............................................................................2
Aymette v. State,
     21 Tenn. 154 (1840) ......................................................................................24
Baird v. Bonta, --- F.4th ----,
      2023 WL 5763345 (9th Cir. 2023) ................................................................25
Caetano v. Massachusetts,
     577 U.S. 411 (2016)...............................................................................8, 9, 10
Chastleton Corp. v. Sinclair,
      264 U.S. 543 (1924).......................................................................................17
Cockrum v. State,
     24 Tex. 394 (1859) ........................................................................................24
District of Columbia v. Heller,
       554 U.S. 570 (2008).............................................. 3, 4, 5, 6, 7, 8, 9, 11, 24, 25
Ezell v. City of Chicago,
       651 F.3d 684 (7th Cir. 2011) .........................................................................17
Friedman v. City of Highland Park, Ill.,
     136 S. Ct. 447 (2015).......................................................................................9
Haynes v. Tennessee,
     24 Tenn. 120 (1844) ......................................................................................24
Heller v. District of Columbia,
      670 F.3d 1244 (D.C. Cir. 2011).............................................................6, 9, 11
In re Asbestos Litig.,
       829 F.2d 1233 (3d Cir. 1987) ........................................................................17
Ind. Harbor Belt R.R. Co. v. Am. Cyanamid Co.,
      916 F.2d 1174 (7th Cir. 1990) .................................................................16, 17
Kolbe v. Hogan,
      849 F.3d 114 (4th Cir. 2017) .........................................................................12
McDonald v. City of Chicago,
    561 U.S. 742 (2010).........................................................................................5



                                                        ii
             Case: 23-1633            Document: 84            Page: 4         Date Filed: 09/20/2023




New York State Rifle & Pistol Ass’n, Inc. v. Beach,
     354 F. Supp. 3d 143 (N.D.N.Y. 2018) ..........................................................18
New York State Rifle and Pistol Ass’n, Inc. v. Bruen,
     142 S. Ct. 2111 (2022).............................. 3, 4, 8, 9, 11, 13, 14, 17, 18, 19, 24
Nunn v. Georgia,
     1 Ga. 243 (1846) ............................................................................................23
RoDa Drilling Co. v. Siegal,
     552 F.3d 1203 (10th Cir. 2009) .....................................................................26
Staples v. United States,
      511 U.S. 600 (1994).........................................................................................6
Stenberg v. Carhart,
      530 U.S. 914 (2000).........................................................................................6
Teter v. Lopez,
      76 F.4th 938 (9th Cir. 2023) .......................................................................4, 7
Tripathy v. Lockwood,
      No. 22-949-pr, 2022 WL 17751273 (2d Cir. Dec. 19, 2022)........................26
U.S. Nat’l Bank of Or. v. Indep. Ins. Agents of Am., Inc.,
      508 U.S. 439 (1993).......................................................................................14
United States v. Miller,
      307 U.S. 174 (1939).......................................................................................25
United States v. Singleterry,
      29 F.3d 733 (1st Cir. 1994)............................................................................17
Worth v. Harrington,
     No. 21-cv-1348, 2023 WL 2745673 (D. Minn. Mar. 31, 2023) ................... 21
York Risk Servs. Grp., Inc. v. Couture,
      787 F. App’x 301 (6th Cir. 2019) .................................................................26
Statutes and Rules
D.C. CODE ANN.
      § 7-2502.02 ......................................................................................................6
DEL. CODE ANN. tit. 11,
      § 1465 ..............................................................................................................5
      § 1466 ..............................................................................................................5
      § 1468 ..............................................................................................................5
      § 1469 ..............................................................................................................5

                                                            iii
            Case: 23-1633            Document: 84           Page: 5         Date Filed: 09/20/2023




FED. R. EVID. 201 ...............................................................................................16, 17
Other Authorities
Br. for the United States of America, District of Columbia v. Heller (Jan. 11, 2008)
       (No. 07-290) ..................................................................................................18
Christopher S. Koper, Assessing the Potential to Reduce Deaths and Injuries from
      Mass Shootings Through Restrictions on Assault Weapons and Other High-
      Capacity Semiautomatic Firearms,
      19 CRIM’Y & PUB. POL’Y 147 (2020)........................................................... 5, 6
Dave Campbell, A Look Back at the Thompson Submachine Gun, AMERICAN
     RIFLEMAN (Apr. 17, 2019), available at https://bit.ly/3ZlZL5y ....................10
David Kopel, How powerful are AR rifles?, REASON MAG. (Feb. 27, 2023)
     available at https://bit.ly/3t4Vh7g .................................................................20
Martin L. Fackler, Gunshot Wound Review,
      28 ANNALS OF EMERGENCY MED. 194 (Aug. 1996) ................................20, 21
DON TROIANI, DON TROIANI’S SOLDIERS OF THE
     AMERICAN REVOLUTION (2007) ...................................................................2, 3
Inflation Calculator, FEDERAL RESERVE BANK OF MINNEAPOLIS,
       https://bit.ly/3PoLAID ..................................................................................10
NICHOLAS J. JOHNSON ET AL., FIREARMS LAW AND THE SECOND AMENDMENT:
     REGULATION, RIGHTS, AND POLICY (3d ed. 2021) .......................................... 3
RANDOLPH ROTH, AMERICAN HOMICIDE (2009) ......................................................20




                                                          iv
          Case: 23-1633   Document: 84    Page: 6     Date Filed: 09/20/2023




                                INTRODUCTION

        Delaware’s law banning firearms and ammunition magazines possessed by

millions of Americans is flagrantly unconstitutional. Under binding Supreme Court

precedent, the law-abiding citizens of this country have an absolute right to possess

arms that are in common use. Arms possessed by millions easily meet that

description.

        The State’s response primarily consists of asking the Court to ignore the

“common use” test because of various shortcomings that it perceives with the test or

the outcomes the test produces, but this Court must follow binding Supreme Court

precedent.

        The State also argues that Plaintiffs somehow waived their ability to argue

about issues such as the meaning of historical statutes. Plaintiffs did not waive any

such arguments, but more importantly, those arguments are largely a distraction. The

district court itself held that the banned long guns and magazines are in common

use. Under a straightforward application of Supreme Court precedent, it follows that

the State’s Bans of these items are unconstitutional even under the district court’s

understanding of the record. For these reasons and those explained below, this Court

should reverse.

                                   ARGUMENT

   I.      The Plain Text of the Second Amendment Protects Plaintiffs’ Right to
           Acquire and Possess the Banned Firearms and Magazines.
                                         1
        Case: 23-1633     Document: 84     Page: 7    Date Filed: 09/20/2023




      The district court correctly concluded that both the firearms and the magazines

banned by Delaware are “arms” within the meaning of the Second Amendment. See

Pls.’ Opening Br., Doc. 29 at 13–15 (July 3, 2023) (“Gray Br.”). Delaware does not

dispute that the firearms it bans “belong to the broad category of weapons

constituting ‘bearable arms.’ ” Id. at 14 (quoting A17). It does, however, briefly

argue that magazines are “accessories” or “accoutrements,” not arms. State Defs.’

Resp. Br., Doc. 62 at 61–62 (Aug. 16, 2023) (“State Br.”). But this Court has held

that “[b]ecause magazines feed ammunition into certain guns, and ammunition is

necessary for such a gun to function as intended, magazines are ‘arms’ within the

meaning of the Second Amendment.” Ass’n of N.J. Rifle & Pistol Clubs, Inc. v. Att’y

Gen. N.J., 910 F.3d 106, 116 (3d Cir. 2018). Although ANJRPC’s holding that the

challenged regulation survived intermediate scrutiny was abrogated by Bruen, see

id. at 119, its determination that magazines are arms was not disturbed by the

Supreme Court’s decision.

      In any event, the State’s argument is unpersuasive. It posits that magazines are

mere “accessories” because on some websites selling firearms, magazines are listed

as “accessories,” and at the Founding “cartridge boxes” and other ammunition

storage boxes were often referred to as “accoutrements” as distinct from “arms.”

State Br. 61; SA396 (Decl. of Dennis Baron). The retail classification of these items

has no constitutional significance. Moreover, it is fallacious to compare “cartridge


                                          2
           Case: 23-1633   Document: 84    Page: 8    Date Filed: 09/20/2023




boxes” to the magazine of a semiautomatic firearm. A cartridge box at the Founding

was a simple container used to hold additional ammunition. See DON TROIANI, DON

TROIANI’S SOLDIERS OF THE AMERICAN REVOLUTION 4 (2007). Magazines are

integral for the operation of semiautomatic firearms and they function to both hold

and feed ammunition into the chamber to be fired. See NICHOLAS J. JOHNSON ET AL.,

FIREARMS LAW AND THE SECOND AMENDMENT: REGULATION, RIGHTS, AND POLICY

1978 (3d ed. 2021). One can no more consider the magazine separately from a

semiautomatic firearm than the trigger or barrel.

         What is more, Delaware’s ban on magazines holding more than 17 rounds

effectively is a ban on firearms capable of firing more than 17 rounds without

reloading—in other words, by banning a certain type of magazine, Delaware

effectively has banned a certain type of firearm. Since the Second Amendment

extends to “all instruments that constitute bearable arms,” District of Columbia v.

Heller, 554 U.S. 570, 582 (2008), it necessarily extends to firearms capable of firing

more than 17 rounds without reloading.

   II.     Delaware’s Bans Are Not Historically Justified.
         Because the Second Amendment’s plain text applies to the banned firearms

and magazines, Delaware must “justify its regulation[s] by demonstrating [they are]

consistent with the Nation’s historical tradition of firearm regulation.” New York




                                          3
            Case: 23-1633   Document: 84    Page: 9    Date Filed: 09/20/2023




State Rifle and Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111, 2130 (2022). It has failed

to do so.

            A. Arms In Common Use for Lawful Purposes Cannot Be Banned.

      Heller and Bruen establish the historical rule of decision for all arms-ban

cases: arms that are “in common use” are absolutely protected and cannot be banned,

a conclusion that is “fairly supported by the historical tradition of prohibiting the

carrying of ‘dangerous and unusual weapons.’ ” See Heller, 554 U.S. at 627. Because

“common use” is part of the historical test, the State bears the burden to show the

banned firearms are not in common use, and it has failed to even attempt to do so.

See Teter v. Lopez, 76 F.4th 938, 950 (9th Cir. 2023). The district court correctly

found that the banned long guns and magazines are in common use. A23. That should

have been the end of the matter and resulted in a ruling for Plaintiffs with respect to

those items. See Gray Br. 15–30. The State fights the governing legal standard in

several ways, but all lack merit.

      1.       The State asserts that “common use” only matters in cases involving an

absolute ban. Its own Bans do not rise to this level, it claims, because “numerous

guns of all types, including handguns, shotguns, and long guns—including semi-

automatic versions—are permitted by the Statutes” and “many magazines . . . remain

unaffected.” State Br. 23. This is wrong for several reasons.




                                           4
        Case: 23-1633     Document: 84      Page: 10     Date Filed: 09/20/2023




      First, an arms ban need not be “categorical” or “absolute” to trigger the “in

common use” test. Rather, any time a firearm—even just one of many similar

firearms—is banned, if that arm is of a type that is “in common use,” it violates the

Second Amendment. This is because, as Heller explained, at the Founding “the

traditional militia was formed from a pool of men bringing arms ‘in common use at

the time’ for lawful purposes like self-defense,” so firearms “typically possessed by

law-abiding citizens for lawful purposes” are protected. 554 U.S. at 624–25. And

once a firearm is protected, it follows that law-abiding citizens “must be permitted

to use” it. McDonald v. City of Chicago, 561 U.S. 742, 768 (2010) (quotation

omitted). “It is no answer” that possession of other firearms is allowed. Heller, 554

U.S. at 629.

      Second, the laws at issue are “absolute” or “categorical” bans; they designate

categories of “assault weapons” and “large-capacity magazines,” DEL. CODE ANN.

tit. 11, §§ 1465, 1468, and then ban them, see DEL. CODE ANN. tit. 11, §§ 1466, 1469.

Delaware must think there is something unique about these items, else banning them

would be wholly irrational.

      Third, while Delaware’s contention that its ban is not categorical should be

rejected, its argument does demonstrate that the category it has created is an artificial

one. So-called “assault weapons” “do not operate differently than other comparable

semiautomatics, nor do they fire more lethal ammunition.” Christopher S. Koper,


                                           5
        Case: 23-1633     Document: 84      Page: 11     Date Filed: 09/20/2023




Assessing the Potential to Reduce Deaths and Injuries from Mass Shootings Through

Restrictions on Assault Weapons and Other High-Capacity Semiautomatic

Firearms, 19 CRIM’Y & PUB. POL’Y 147, 149 (2020). The Supreme Court in Staples

v. United States identified an AR-15, the archetypical “assault weapon” banned by

Delaware under the Bans, as a type of semiautomatic firearm that “traditionally ha[d]

been widely accepted as lawful possessions.” 511 U.S. 600, 612 (1994); cf. Stenberg

v. Carhart, 530 U.S. 914, 1001 n.16 (2000) (Thomas, J., dissenting). By effectively

conceding that the appropriate category of firearms to consider here is

“semiautomatics,” Delaware forecloses the conclusion that the arms it bans are not

“in common use.” See, e.g., Heller v. District of Columbia, 670 F.3d 1244, 1261

(D.C. Cir. 2011) (“Heller II”).

      Finally, while there are exceptions for magazines and firearms owned before

the Bans’ effective date, or for law enforcement officers and certain businesses, the

exceptions do not permit ordinary law-abiding citizens of Delaware to acquire and

possess the banned arms. Heller itself rejected the significance of “minor

exceptions” to D.C.’s handgun ban, see 554 U.S. at 574 n.1, which included

exceptions for pre-ban handguns and retired police officers, see D.C. CODE ANN.

§ 7-2502.02 (West 2008).

      2.     The State claims that whether a firearm is “in common use” goes not to

the historical analysis, as Plaintiffs have explained, see Gray Br. 29–30, but is instead


                                           6
        Case: 23-1633     Document: 84     Page: 12     Date Filed: 09/20/2023




part of the textual question: whether the items are “arms” at all. State Br. 23–24. This

argument is inconsistent with the plain text of the Second Amendment—which

references “arms” and nowhere suggests that there is some requirement that

protected arms be sufficiently common—and with Heller and Bruen, which make

clear that common use is based on history, not plain text. See Teter, 76 F.4th at 949–

950.

       Following the methodology later made explicit in Bruen, Heller began by

analyzing the scope of the text of the Second Amendment. See Heller, 554 U.S. at

576–600. It construed the term “arms” to embrace “all instruments that constitute

bearable arms,” without regard to how common they are. Id. at 582. It then analyzed

the history of firearm regulation to assess potential limits on the right and held that

history disclosed an “important limitation on the right to keep and carry arms,”

namely, that “the historical tradition of prohibiting the carrying of ‘dangerous and

unusual weapons’ ” showed that “the sorts of weapons protected were those ‘in

common use.’ ” Id. at 627 (emphasis added). This was a rule developed from “the

historical understanding of the scope of the right.” Id. at 625 (emphasis added). The

handguns that were the subject of D.C.’s ban were not “dangerous and unusual

weapons,” but rather “the most popular weapon chosen by Americans for self-

defense in the home,” so they were protected. Id. at 629. And in Bruen, as the

Supreme Court set out to clarify the methodology exemplified in Heller, it stated


                                           7
        Case: 23-1633     Document: 84     Page: 13     Date Filed: 09/20/2023




plainly that Heller’s conclusion that firearms “in common use” are protected by the

Second Amendment was “[d]raw[n] from . . . historical tradition” and comported

with the enactments of colonial legislatures that Bruen analyzed in its own historical

review. 142 S. Ct. at 2143 (emphasis added).

      The State argues that “common use” should be treated as an element of the

text just because Bruen “answered the [textual] question only after noting that it was

undisputed that handguns are weapons in common use today for self-defense.” State

Br. 24 (quoting Bruen, 142 S. Ct. at 2134–35) (cleaned up). But there is nothing

suggestive about the placement of this statement in the opinion, which even in the

State’s telling, came before the textual analysis; it was merely a prefatory statement

clarifying issues that were not in dispute in the case. See 554 U.S. at 584.

      3.     The State objects to Plaintiffs’ reliance on the per curiam opinion and

Justice Alito’s concurrence in Caetano v. Massachusetts, 577 U.S. 411 (2016),

because Caetano did not itself decide stun guns were constitutionally protected and

Justice Alito’s opinion—which applied the common use test and found 200,000

civilian owners qualified as “common” for purposes of constitutional protection—

did not command a majority of the Court. State Br. 25. As to the first point, Plaintiffs

acknowledged that Caetano did not decide the constitutionality of the Massachusetts

law at issue. See Gray Br. 21–22. But the per curiam opinion reaffirmed that the

standard to apply in arms ban cases is “common use.” See id. at 27; Caetano, 577


                                           8
        Case: 23-1633     Document: 84     Page: 14    Date Filed: 09/20/2023




U.S. at 411. Indeed, Bruen itself cited Caetano for that point. See Bruen, 142 S. Ct.

at 2134. And as for Justice Alito’s concurrence, he is hardly alone in recognizing the

importance of Heller’s “in common use” language, as Justices Thomas and

Kavanaugh also embraced that rationale before Bruen, see Friedman v. City of

Highland Park, Ill., 136 S. Ct. 447, 449 (2015) (Thomas, J., dissenting from denial

of certiorari); Heller II, 670 F.3d at 1270 (Kavanaugh, J., dissenting), as has a

majority of the Court in Bruen, see 142 S. Ct. at 2143.

      4.     The State warns that taking “common use” seriously will “ ‘upend

settled law’ ” because “ ‘as of 2016, there were nearly 176,000 legal civilian-owned

machine guns in the United States’, which ‘comes close to [200,000] the quantity of

weapons that Plaintiffs [and Justice Alito in Caetano] . . . identify as sufficient’ to

immunize a weapon.” State Br. 26–27 (quoting A16). But finding common use here

would not bind the Court to find machine guns also in common use—it is entirely

possible that 200,000 represents “the lower bar of constitutional protection.” Gray

Br. 28. The State claims Plaintiffs have “simply made up” this threshold, State Br.

27, but Plaintiffs’ argument is supported by the very portions of Heller and Caetano

that the State tries to contort into conflict with one another. Though it was not

necessary to the Court’s decision, Heller suggested that machine guns were

unprotected by the Second Amendment under the “common use” analysis because

they are “highly unusual in society at large.” Heller, 554 U.S. at 627. Caetano


                                          9
        Case: 23-1633    Document: 84     Page: 15    Date Filed: 09/20/2023




reversed a decision upholding a ban on stun guns as inconsistent with Heller, and at

the time, there were approximately 200,000 stun guns in the United States. 577 U.S.

at 411 (per curiam), 420 (Alito, J., concurring). Putting these things together, that

suggests that there is in fact a “constitutionally significant difference between

200,000 and 176,000.” State Br. 27.

      That is especially understandable since machine guns have been on the market

for much longer than stun guns and have never been in common use. When perhaps

the most famous such firearm, the Thompson submachine gun, first appeared on the

market in 1921, though “virtually anyone with cash could buy one across the

counter,” “[s]ales trickled in.” Dave Campbell, A Look Back at the Thompson

Submachine Gun, AMERICAN RIFLEMAN (Apr. 17, 2019), available at

https://bit.ly/3ZlZL5y. At the same time, automatic firearms became “[t]he guns of

choice for most [Prohibition-era] gangs.” Id. And 13 years after the Thompson

debuted, Congress passed the National Firearms Act of 1934, severely restricting the

lawful possession of machine guns by subjecting them to what at the time was an

exorbitant tax. See Inflation Calculator, FEDERAL RESERVE BANK OF MINNEAPOLIS,

https://bit.ly/3PoLAID ($200 in 1934 equivalent to over $4,500 in 2023). Tasers had

been around for much less time in 2009, but they already exceeded the total number

of civilian-owned machine guns. See Caetano, 577 U.S. at 420. Of course, the

numbers of both Tasers and machine guns owned by law-abiding Americans are


                                         10
        Case: 23-1633     Document: 84     Page: 16      Date Filed: 09/20/2023




dwarfed by the number of magazines holding more than 17 rounds or firearms

Delaware has dubbed “assault weapons,” both of which are owned by millions of

Americans, so even if the floor for common use is above 200,000, this case raises

no thorny concerns about the limits of the scope of the right. See, e.g., Heller II, 670

F.3d at 1261.

      5.     The State argues that “common use” creates “a race between

manufacturers and legislatures,” “leads to circular analyses,” and is “inconsistent

with the enduring nature of constitutional principles.” State Br. 28–29. None of these

objections are valid. As Bruen readily acknowledges, enduring constitutional

principles look different at different times—that is why courts must ask whether new

and old laws are “relevantly similar.” Bruen, 142 S. Ct. at 2132 (quotations omitted).

In an arms ban case like this one, the question is, are these Delaware laws like “the

historical tradition of prohibiting the carrying of ‘dangerous and unusual

weapons[?]’ ” Heller, 554 U.S. at 627. The enduring constitutional principle to be

applied is that weapons that are not “dangerous and unusual” are protected. Although

the firearms that fit that definition may change from time to time, see Bruen, 142 S.

Ct. at 2143 (“Whatever the likelihood that handguns were considered ‘dangerous

and unusual’ during the colonial period, they are indisputably in ‘common use’ for

self-defense today.”), the principle remains the same.




                                          11
        Case: 23-1633      Document: 84    Page: 17     Date Filed: 09/20/2023




      As to the charge that the test is circular or creates a race between regulators

and manufacturers, this objection was raised by Justice Breyer in dissent in Heller

but “the Heller majority was obviously unmoved by it.” See Kolbe v. Hogan, 849

F.3d 114, 153 (4th Cir. 2017) (Traxler, J., dissenting). And as products such as

Google Glass and the Ford Edsel demonstrate, producers cannot dictate to

consumers what to purchase. Arms in common use are in common use because the

American people have found them useful and elected to obtain them.

      Finally, it is not true to suggest, as the State does, that if a state can outlaw a

firearm before it comes into common use, then its regulation is per se valid. To be

banned, a firearm must be “dangerous and unusual.” A firearm may be infrequently

owned (therefore unusual numerically) yet no more dangerous than arms that are in

common use (therefore not dangerous). “Common use” is a sufficient but not

necessary condition for constitutional protection.

          B. The District Court Erred By Accepting the State’s Misleading and
             Erroneous Historical Argument.

      The Court need go no further. The banned firearms and magazines are “in

common use,” and so Delaware’s Bans are unconstitutional. If it does go further, the

State urges the Court to decide the constitutionality of the Delaware Bans and make

a constitutional holding based on the false assertions of its experts. The Court should

decline that invitation.



                                          12
        Case: 23-1633     Document: 84      Page: 18     Date Filed: 09/20/2023




      The State suggests this Court must accept as true the existence of entirely

fictional historical restrictions, even though Plaintiffs demonstrated in their opening

brief that the historical claims made by the State are untethered from reality, see

Gray Br. 42–53, because, it claims, Plaintiffs waived their right to object to any

historical errors, State Br. 18. At oral argument on the preliminary injunction, after

first noting that the contents of all the expert reports submitted by the State are

irrelevant to the legal question in this case (since the banned firearms are in common

use), Plaintiffs’ counsel was asked by the district court if it could “take every factual

assertion that’s in the five Defendant declarations as being true,” and responded

“yes.” SA938. Later at the same hearing, Plaintiffs’ counsel affirmed that the Court

did not “have to go out and do [its] own independent history.” SA975. Neither

statement amounts to a waiver of Plaintiffs’ right to have this Court interpret the

Second Amendment in light of true historical context.

      Taking these points in reverse order, the second is an accurate statement of the

law. Bruen affirmed that Courts do not have to go and assemble their own historical

evidence to try to prove the constitutionality of a challenged law. Instead, this Court

can “decide a case based on the historical record compiled by the parties,” Bruen,

142 S. Ct. at 2130 n.6, and the State bears the burden to identify sufficient analogues

to justify its law, id. at 2135. But what Bruen does not provide is that once a state

comes forward with purported analogues, the court must accept a characterization


                                           13
        Case: 23-1633      Document: 84     Page: 19     Date Filed: 09/20/2023




of those analogues that is refuted by the text of the laws themselves. While the Court

need not do its own “history”—i.e., compile its own historical analogues—it must

do its own “historical analysis.” “[I]t is [the job of judges] to resolve legal questions

presented in particular cases or controversies [and] [t]hat legal inquiry is a refined

subset of a broader historical inquiry.” Id. at 2130 n.6 (quotations omitted). In other

words, in deciding the legal question of the Bans’ constitutionality, the Court has a

duty to analyze historical restrictions on the right to make a legal conclusion

regarding the contours of the Second Amendment. It must evaluate whether the laws

the State cites actually are “relevantly similar” to the challenged restrictions. Id. at

2132 (quotations omitted). That means that if the State’s expert claims that the laws

he has assembled regarding possession or carriage of pistols are of general

applicability and not merely “laws that barred weapon possession to specific

groups,” see A326, when in fact they are precisely the latter sort of law, see Gray

Br. 46–47, it is legal error to take the expert’s word for it. Even if Plaintiffs’ counsel

had fully endorsed the State’s expert report (and he did not), the district court erred

in basing its judgment on “a rule of law whose nonexistence is apparent on the face

of things, simply because the parties [allegedly] agree[d] upon it.” U.S. Nat’l Bank

of Or. v. Indep. Ins. Agents of Am., Inc., 508 U.S. 439, 447 (1993) (quotation

omitted).




                                           14
        Case: 23-1633     Document: 84     Page: 20     Date Filed: 09/20/2023




      Plaintiffs’ briefing below also gives lie to the notion that the parties had agreed

upon this error of law anyway. Plaintiffs argued there, as they have here, that the

State’s proffered analogues were inadequate because the State had “not identified a

single law that would permit a State to outlaw possession of a ‘dangerous’ weapon

that was among the most popular contemporary choices of citizens lawfully seeking

to exercise their fundamental rights [so] [n]one of the laws cited by the State are

‘relevantly similar’ under Bruen.” SA916.

      As for Plaintiffs’ statement that the district court could accept the “factual

assertions” presented by the experts (for instance, the existence of certain historical

gun laws) at face value for the purpose of deciding the preliminary injunction, it was

not an invitation for the district court also to adopt the expert’s inaccurate legal

analysis, but rather a statement that even if all the experts’ factual assertions were

accepted, Plaintiffs would win anyway. The district court noted in its question to

Plaintiffs’ counsel that it “underst[ood] you don’t think its relevant,” and Plaintiffs’

counsel emphasized in answering that “if you do [take the facts as true], your honor,

it’s not going to make a difference,” because under the applicable legal test—

common use—the State’s experts simply do not matter. SA938.

      Plaintiffs did not waive any objection that the expert was misrepresenting the

meaning of historical laws or misstating how they compared to the Bans. And

Plaintiffs are not now presenting “claims that were not first presented to the District


                                          15
         Case: 23-1633      Document: 84      Page: 21      Date Filed: 09/20/2023




Court,” State Br. 19 (quotation omitted), since the one and only claim in this case—

that the Bans are utterly unlike historically accepted restrictions on the right to keep

and bear arms—is the same here as it was below.

       The State also argues that “Plaintiffs rely heavily upon purported factual

assertions not presented below,” and asks this Court to blind itself to any facts on

appeal not found in the district court’s preliminary injunction record. State Br. 20–

21. As an initial matter, even if this Court were to ignore every piece of information

Plaintiffs did not cite before the district court, Plaintiffs should still prevail. Plaintiffs

explained to the district court, as they have done here, that “the ‘common use’ test is

the historical analysis called for in this case” so “it is unnecessary to even consider

the State’s proffered historical analogues.” SA925. And as to common use, Plaintiffs

demonstrated that the banned firearms and magazines are in common use and owned

by tens of millions of Americans. See, e.g., SA917–18.

       At any rate, any additional facts on which Plaintiffs have relied before this

Court—such as facts relating to the commonality, the nature of the banned arms and

the contents of historical statutes that impacted the right to keep and bear arms—are

“legislative facts.” “Legislative facts” are general facts about the world that

transcend the immediate activities of the parties but “have relevance to legal

reasoning . . . in the formulation of a legal principle or ruling by a judge or court.”

FED. R. EVID. 201, 1972 Advisory Committee Note; see also Ind. Harbor Belt R.R.


                                             16
        Case: 23-1633      Document: 84      Page: 22     Date Filed: 09/20/2023




Co. v. Am. Cyanamid Co., 916 F.2d 1174, 1182 (7th Cir. 1990). In a facial

constitutional challenge like this one, all the relevant facts are “legislative facts”

because, “[o]nce standing is established, the plaintiff’s personal situation becomes

irrelevant.” Ezell v. City of Chicago, 651 F.3d 684, 697 (7th Cir. 2011). This Court’s

review of legislative facts is both de novo and unrestricted by what was presented to

the district court, and “any limitation in the form of indisputability, any formal

requirement of notice other than those already inherent in affording an opportunity

to hear and be heard and exchanging briefs, and any requirement of formal findings

at any level” is “inappropriate.” FED. R. EVID. 201, 1972 Advisory Committee Note;

see also United States v. Singleterry, 29 F.3d 733, 740 (1st Cir. 1994); cf. Teter, 76

F.4th at 946–47. After all, “the court may ascertain as it sees fit any fact that is merely

a ground for laying down a rule of law.” Chastleton Corp. v. Sinclair, 264 U.S. 543,

548–49 (1924) (Holmes, J.). “To forbid such recognition would force courts to

fashion laws without reference to reality.” In re Asbestos Litig., 829 F.2d 1233, 1245

(3d Cir. 1987) (Becker, J., concurring). The State’s argument amounts to precisely

that—a plea to this Court to fashion a Second Amendment rule of law without

reference to reality.

       The State argues that the historical questions raised by this case cannot be

“legislative facts” because Bruen referenced “historical evidence” and a “historical

record compiled by the parties.” State Br. at 21 (quoting Bruen, 142 S. Ct. at 2130


                                            17
        Case: 23-1633     Document: 84      Page: 23     Date Filed: 09/20/2023




n.6). But Bruen confirms that appellate courts are not bound by a district court

factual record when considering history. There was no evidence “in the record” in

Bruen, which was dismissed on the pleadings by the district court. New York State

Rifle & Pistol Ass’n, Inc. v. Beach, 354 F. Supp. 3d 143, 148–49 (N.D.N.Y. 2018).

The same was true in Heller, and in both cases the Supreme Court conducted a

fulsome historical analysis and rejected requests that the cases be remanded for

further factual development, Bruen, 142 S. Ct. at 2135 n.8; see also Br. for the United

States of America at 31 n.9, District of Columbia v. Heller (Jan. 11, 2008) (No. 07-

290). And in both cases, the Court considered information presented by the parties

and their amici without any consideration of whether it was presented below. See,

e.g., Bruen, 142 S. Ct. at 2132 (“[W]e find no such tradition in the historical

materials that respondents and their amici have brought to bear on that question.”).

          C. This Case Presents Neither Unprecedented Societal Concerns Nor
             Dramatic Technological Changes.

      The State next argues that the district court was correct to find that the

Delaware Bans “implicate ‘unprecedented societal concerns’ and ‘dramatic

technological changes.’ ” State Br. 31 (quoting A26). Even if the State were right, it

would be irrelevant. “[U]nprecedented societal concerns” or “dramatic technological

changes” may require a “more nuanced approach” from a court analogizing to

historical regulations, but they do not offer the State a free pass. Bruen, 142 S. Ct. at

2132. A “more nuanced approach” makes no difference when the analogy has

                                           18
        Case: 23-1633    Document: 84     Page: 24    Date Filed: 09/20/2023




already been drawn by the Supreme Court. And in any event, the specific rule the

Supreme Court has derived for cases like this one—that arms “in common use”

today are protected—inherently accounts for technological and social changes on

which the State places so much emphasis.

       Nevertheless, the State spends much of its brief emphasizing alleged societal

changes and technological advances represented by the banned firearms and

magazines. See State Br. 31–42. These arguments appear to be primarily aimed at

emphasizing how important (in its view) the challenged laws are. But under Bruen

interest-balancing arguments are out of bounds and this Court must guard against

giving credence to such arguments, however presented. See Bruen, 142 S. Ct. at 2133

n.7.

       In any event, this case involves neither technological changes nor

unprecedented social concerns. Several of the changes and concerns the State

highlights—mass shootings, increased lethality, armor penetration, and heightened

wounding potential, State Br. 31–34, 36, 41, were addressed in Plaintiffs’ opening

brief and the State does not respond meaningfully to Plaintiffs’ arguments, see Gray

Br. 37–42. The State does dispute that “firearm violence” has long been a significant

problem in America because “[t]hat level of generalization is inappropriate,” and, it

says, the focus should be exclusively on “mass shootings and increas[ed] casualties

in shootings involving assault weapons and LCMs.” State Br. 31. The State should


                                         19
        Case: 23-1633     Document: 84     Page: 25    Date Filed: 09/20/2023




not be heard to complain about levels of generality, given that its historical analysis

broadly concludes that legislatures may “ban[] certain weapons to protect public

safety.” Id. at 52. And in any event, violence, even mass violence, is not a new

concern, see RANDOLPH ROTH, AMERICAN HOMICIDE 348 (2009) (discussing notable

incidents of mass murder in the Reconstruction South) yet the State has not identified

a tradition of banning law-abiding citizens from possessing commonly possessed

arms in response to any sort of violence. In any event, no link between the specific

firearm violence problems the State identifies and the banned firearms and

magazines can be demonstrated. See Gray Br. 51–52.

      The State’s other arguments that these firearms present unprecedented dangers

are similarly baseless. The State argues that bullets fired from the banned firearms

are somehow more destructive than identical bullets fired from other guns, claiming

that AR-15 bullets in Vietnam were shown to be capable of decapitating enemies or

causing “the abdominal cavity to explode.” State Br. 37 (quotations omitted). The

State’s support for this proposition is ultimately a U.S. military report from 1962

which featured outlandish claims about the power of these rifles. Though the U.S.

Army’s Wound Ballistic Laboratory attempted to replicate the claimed effects, they

were never able to do so, see David Kopel, How powerful are AR rifles?, REASON

MAG. (Feb. 27, 2023) available at https://bit.ly/3t4Vh7g, and in fact further military

experience with the rifles undermined those reports. See, e.g., Martin L. Fackler,


                                          20
         Case: 23-1633       Document: 84   Page: 26     Date Filed: 09/20/2023




Gunshot Wound Review, 28 ANNALS OF EMERGENCY MED. 194, 197, 202 (Aug.

1996) (“The damage caused by the military rifle bullet cannot be differentiated from

that caused by a handgun bullet even by the most expert.”). The State claims that it

is immaterial that AR-15s are capable of only semiautomatic fire since “numerous

inexpensive products . . . allow semi-automatic assault weapons to fire at rates

approaching fully automatic weapons.” State Br. 39 n.24. If that is the State’s

concern, it seems reasonable to ask why those products are nowhere mentioned in

its definition of “assault weapons” and instead it is focused on whether, for example,

a rifle has a pistol grip.

          D. The State Has Failed to Justify Its Bans.
       Turning at last to the State’s attempt to find historical support for the Bans, it

has still presented no valid analog that would support the proposition that a state can

ban law-abiding citizens from possessing arms that are in common use. See State Br.

52. The State makes two errors that pervade its analysis. First, it emphasizes too

many laws that post-date by too far the Founding, the key period for understanding

the scope of the Second Amendment. See Gray Br. 32–33. The Supreme Court has

repeatedly (including in Bruen) stated that the Bill of Rights means the same thing

whether applied against the States or the federal government, and it has interpreted

its meaning with primary reference to the Founding. See Worth v. Harrington, No.

21-cv-1348, 2023 WL 2745673, at *10–12 (D. Minn. Mar. 31, 2023). Second, the


                                            21
        Case: 23-1633     Document: 84      Page: 27     Date Filed: 09/20/2023




State, just like the district court, cites almost no historical laws directly, preferring

to focus on history as filtered (and misconstrued) by its experts, but the laws tell a

much different story than the experts. See, e.g., Gray Br. 43–44. The State leaves

most of Plaintiffs’ arguments regarding its misreading of history unrebutted.

      Beginning in the Founding era, the State cites laws restricting billy clubs,

bludgeons, and slungshots, see State Br. 48, but it fails to mention that Plaintiffs have

already demonstrated that these laws were not as restrictive as the State claims, Gray

Br. 45. The State also reiterates the patently false claim that “fifteen states

categorically barred the[] carry[ing]” of Bowie knives. State Br. 49. At most, three

states (two of which also had outlier restrictions on handguns that the Bruen Court

rejected as analogues in that case) had such restrictive laws. Gray Br. 44–45. Falling

back from that untenable position, the State complains that “it is Plaintiffs who omit

that the Bowie knife laws surveyed included laws that criminalized any carry and

imposed enhanced criminal penalties for using the knives, regulatory taxes, and anti-

brandishing laws.” State Br. 50. But Plaintiffs did acknowledge the three laws that

criminalized carry. As for laws that imposed enhanced criminal penalties for illegal

use, taxed ownership, or prohibited brandishing—they are unlike the Delaware Bans

which criminalize possession of the firearms in question. A ruling for Plaintiffs

would not call into question statutes punishing the criminal misuse of firearms to

commit violent crimes.


                                           22
        Case: 23-1633      Document: 84     Page: 28     Date Filed: 09/20/2023




      The State charges Plaintiffs with “misread[ing] other historical regulations

[from this period] as well.” See State Br. 50 n.30. It claims plaintiffs read a

“nonexistent ‘intent’ qualifier into Colo. Rev. Stat. 1774 § 248 (1881)” (a Bowie

knife law). Id. But Plaintiffs did no such thing. Plaintiffs noted that three of the

State’s Bowie knife laws “merely banned concealed carry or open carry with intent

to use the knife in crime” and cited to the Colorado statute, which did only ban

concealed carry. Gray Br. 43. The State also charges Plaintiffs with “ignoring [the]

last sentence of George R. Donnan, Ann. of Crim P. & Penal Code of the State of

N.Y. as Amended 1882–5, § 410 (1885).” State Br. 50 n.30. Plaintiffs also cited that

statute as one that targeted only concealed carry or open carry with intent. Gray Br.

43. The last sentence of the statute reads: “The possession, by any person other than

a public officer, of any of the weapons specified in the last section, concealed or

furtively carried on the person, is presumptive evidence of carrying, or concealing,

or possessing, with intent to use the same in violation of that section.” That is entirely

consistent with Plaintiffs’ description. The State faults Plaintiffs for citing Nunn v.

Georgia, 1 Ga. 243 (1846), because that case involved an individual carrying a

pistol, but the Nunn statute that was held unconstitutional to the extent it barred

carrying weapons openly also applied to Bowie knives, id. at 246, so it is relevant

here. And Plaintiffs did not “fail[] to address relevant Bowie knife cases cited by

Spitzer.” State Br. 50 n.30. Spitzer cited four such cases, one of which was Nunn.


                                           23
        Case: 23-1633     Document: 84     Page: 29    Date Filed: 09/20/2023




A311–14. The other three dealt only with bans on concealed carriage, see Aymette v.

State, 21 Tenn. 154 (1840), Haynes v. Tennessee, 24 Tenn. 120 (1844), or a law that

provided for enhanced penalties for a killing committed with a Bowie knife, see

Cockrum v. State, 24 Tex. 394 (1859). Such laws are unlike the Delaware Bans which

prohibit simple ownership of the targeted firearms and magazines.

      Turning to laws post-dating the Civil War, the State claims that six states

“barred possession of multi-shot handguns outright.” State Br. 52. This claim best

exemplifies the State’s unwillingness to engage with the demonstrated shortcomings

of its expert’s analysis. It makes no reference to Plaintiffs’ brief which demonstrated

that, in fact, none of the laws cited for this proposition support it. See Gray Br. 46.

Even ignoring the inaccuracy, the State’s claim that these laws (and other laws

targeting concealed or concealable sword canes and daggers) “burdened, to an

extent, individuals’ rights to armed self-defense. But individuals could utilize other

arms that did not present the same risk,” State Br. 52, represents a view of the Second

Amendment right that was squarely rejected in Heller. See 554 U.S. at 629.

      As to the 20th century laws on which the State relies, see State Br. 53–55, they

come too late to aid this Court’s analysis. See Bruen, 142 S. Ct. at 2154 n.28. As

Plaintiffs have explained, laws regulating machine guns are different in kind than

laws regulating semiautomatics in common use, and as with so many of its other

laws, the State greatly overstates the scope and significance of the laws it claims


                                          24
          Case: 23-1633   Document: 84     Page: 30     Date Filed: 09/20/2023




limited ammunition capacity for semiautomatics. Gray Br. 48–49. The State, again,

makes no response to Plaintiffs’ refutation of its arguments. The State also looks for

support to laws banning short-barreled shotguns. State Br. 55. But even as it cites

them, it explains why they are irrelevant: the Supreme Court has noted that such

firearms are not protected under the Second Amendment. United States v. Miller,

307 U.S. 174, 178 (1939); see also Heller, 554 U.S. at 622.

      There is no basis, on this historical record, to conclude that Delaware’s

sweeping ban of common semiautomatic firearms and magazines is constitutional.

The State collects a series of district court cases from which it purports to draw

additional support, see State Br. 55–58, but these cases are duplicative of the State’s

reasoning and should be rejected for having made many of the same errors that the

State makes here.

   III.    The Remaining Injunction Factors Favor Plaintiffs.
      Plaintiffs’ Second Amendment rights are being violated, so the remainder of

the injunction factors follow naturally. Gray Br. 52. See also Baird v. Bonta, --- F.4th

----, 2023 WL 5763345, at *9 (9th Cir. Sept. 7, 2023). The State’s arguments

regarding irreparable harm and the public interest almost entirely fail if that premise

is granted. See, e.g., State Br. 62. The State argues that Plaintiffs’ “four-month delay

in seeking a preliminary injunction undermines their claims of irreparable harm,” id.

at 63, but for support of that proposition it cites to instances in which injunctions


                                          25
        Case: 23-1633     Document: 84     Page: 31     Date Filed: 09/20/2023




were sought after delays of 3 years and 17 months, respectively, in cases not about

the loss of a fundamental constitutional right but about intellectual property.

“[D]elay is but one factor in the irreparable harm analysis,” RoDa Drilling Co. v.

Siegal, 552 F.3d 1203, 1211 (10th Cir. 2009); see also York Risk Servs. Grp., Inc. v.

Couture, 787 F. App’x 301, 309 (6th Cir. 2019) (six-month delay not unreasonable).

It weighs much less strongly in cases like this one where the harm befalling the

Plaintiffs—loss of a constitutional right—is irreparable even if the loss is for a brief

period. Tripathy v. Lockwood, No. 22-949-pr, 2022 WL 17751273, at *2 (2d Cir.

Dec. 19, 2022).

                                   CONCLUSION

      For the foregoing reasons, the Court should reverse the district court’s denial

of a preliminary injunction.

Dated: September 20, 2023                   Respectfully submitted,

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                                          26
       Case: 23-1633    Document: 84    Page: 32     Date Filed: 09/20/2023




                 CERTIFICATE OF BAR MEMBERSHIP

     I hereby certify that I am a member of the bar of this Court.

Dated: September 20, 2023                        s/ David H. Thompson
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        Case: 23-1633     Document: 84      Page: 33     Date Filed: 09/20/2023




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      This brief complies with the type-volume limitations of FED. R. APP. P.

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Dated: September 20, 2023                             s/ David H. Thompson
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        Case: 23-1633    Document: 84      Page: 34     Date Filed: 09/20/2023




                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of Court

for the United States Court of Appeals for the Third Circuit by using the appellate

CM/ECF system on September 20, 2023. Service on all counsel for all parties has

been accomplished via ECF.



Dated: September 20, 2023                           s/ David H. Thompson
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